Case 1:19-cr-00156-MAD Document 45 Filed 08/09/19 Page 1 of 6

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,
ORDER
-Vs-
Criminal Action No. 1:19-cr-156 (MAD)
XIAOQING ZHENG,
Defendant.

 

BASED ON THE JOINT STIPULATION AND THE FOLLOWING FINDINGS, IT IS
HEREBY ORDERED:

l. That the sixty (60) day period, from August 9, 2019 to and including
October 7, 2019, shall be excludable in computing time under the Speedy Trial Act. Based on
the stipulated facts and findings set forth in the joint stipulation which the Court incorporates into
this Order and adopts them as findings, the Court further finds, pursuant to 18 U.S.C.
§3161(h)(7)(A), that the ends of justice served by granting this continuance outweigh the best
interests of the public and the defendant in a speedy trial.

2. The deadline for the completion of discovery by the United States shall be
completed on or before August 23, 2019 (otherwise due within 14 days of arraignment pursuant
to Local Rules of Criminal Procedure and the Criminal Pretrial Order). The deadline for the
completion of reciprocal discovery by the Defendant shall be completed on or before
August 30, 2019 (otherwise due within 21 days of arraignment pursuant to Local Rules of
Criminal Procedure and the Criminal Pretrial order).

3. Any pretrial motions in this case shall be filed on or before September 6, 2019

and shall be made returnable on October 15, 2019 on submit before Judge Mae A. D’ Agostino

 

with no appearances necessary.
Case 1:19-cr-00156-MAD Document 45 Filed 08/09/19 Page 2 of 6

4. Any change of plea shall be entered on or before October 11, 2019.

5. All pretrial submissions as set forth in the second criminal pretrial scheduling
order (Dkt. No. 30) are due on or before October 15, 2019.

6. A Final Pretrial Conference will be held on October 22, 2019 at 10:00 a.m. in
Albany before Judge Mae A. D’ Agostino. Counsel are directed to report to Judge D’Agostino’s
chambers for this conference.

7. Jury Trial is scheduled to commence on October 28, 2019 at 9:30 a.m. before
Judge Mae A. D’ Agostino in Albany, New York.

IT IS SO ORDERED

Dated: August 9, 2019
Albany, New York G Lie

Mae A. D‘ Agostinge’”
U.S. District Judge
Case 1:19-cr-00156-MAD Document 45 Filed 08/09/19 Page 3 of 6

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF NEW YORK

KEKESARERESHES SE SHEARER ARH ES EGE

UNITED STATES OF AMERICA Criminal Action No. 19-CR-00156 (MAD)

v.
(Hon. Mae A. D’ Agostino)

XIAOQING ZHENG
STIPULATION AND ORDER
FOR ENLARGEMENT OF TIME
Defendant.
ROI HOR HOR fog AO at dae 0 EE
STIPULATION

Kevin Luibrand, the attorney for defendant Xiaoqing Zheng in the above-captioned action,
having moved for a continuance of sixty (60) days within which the defense may review discovery,
conduct its own investigation, and research and prepare motions, and Grant C. Jaquith, United
States Attorney for the Northern District of New York (by Richard Belliss, Assistant United States
Attorney), having consented to the continuance and the proposed exclusion of a sixty (60) day
period under the Speedy Trial Act, pursuant to Title 18, United States Code, Section
3161(h)(7)(A), the parties hereby stipulate and agree as follows:

1. The prior proceedings in this case occurred as follows:

a. Date of federal arrest: August 1, 2018

b. Date of indictment: April 18, 2019

c. Date of arraignment: April 23, 2019

d. Defendant custody status: Defendant is released on conditions
i. Date United States moved for detention: N/A

ii. | Date of detention hearing: N/A

oer tan Net hE ay

 
Case 1:19-cr-00156-MAD Document 45 Filed 08/09/19 Page 4 of 6

defense to be prepared to defend the case at trial on August 26, 2019 (the presently scheduled trial
date), taking into account the exercise of due diligence.

4. The parties stipulate and agree that the time period running sixty (60) days from the
date of the Court=s order shall be excludable under the Speedy Trial Act pursuant to 18 U.S.C. §§
3161(h)(7)(A) and (h)(7)(B) (iv).

The undersigned attorneys affirm under penalty of perjury the accuracy of the facts set

forth above and apply for and consent to the proposed order set forth below.

 

 

 

Dated: ra $2019 GRANT C. JAQUITH
ti . ~
United States lsat 700759
hye / _,2019
Kphin Luibrand, Esq.
Attorney for TOURS Zheng
Bar Roll No. (OUG

 

 

 
Case 1:19-cr-00156-MAD Document 45 Filed 08/09/19 Page 5 of 6

ORDER

A. The Court incorporates into this Order the stipulated facts set forth above and
hereby adopts them as findings.

B. The Court has considered its obligation under 18 U.S.C. § 3161(h)(7)(A) to
determine whether a continuance serves the ends of justice in a manner that outweighs both the
public interest and the defendant’s rights. The Court finds that pursuant to 18 U.S.C. §
3161(h)(7)(A), the ends of justice served by granting the requested continuance outweigh the best
interests of the public and the defendant in a speedy trial because the nature of the investigation,
its complexity, the need for the defense to review evidence, to conduct an investigation, and to
prepare its motions, make the requested delay necessary, taking into account the exercise of due
diligence.

BASED ON THE STIPULATED FACTS AND THE COURT’S RELATED FINDINGS
IT IS HEREBY ORDERED

A. That the sixty (60) day period running from the date of this Order, up to and
including , 2019 shall be excludable in computing time under the Speedy Trial
Act pursuant to 18 U.S.C. §§ 3161(h)(7)(A) and (h)(7)(B)(iv) in order to give the defense
reasonable time necessary for effective preparation.

B. The deadline for the completion of reciprocal discovery by the defendant (otherwise
due within 21 days of arraignment pursuant to the terms of the Local Rules of Criminal Procedure

and the Criminal Pretrial Order) will be extended by 60 days to 2019.
Case 1:19-cr-00156-MAD Document 45 Filed 08/09/19 Page 6 of 6

Cc. The trial in this matter shall begin on , 2019 before United
States District Judge Mae A. D’ Agostino, in Albany, New York or, in the alternative, a change of

plea shall be entered on or before , 2019,

Dated: August , 2019
Hon. Mae A. D’ Agostino
United States District Court Judge
Northern District of New York
